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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

 CHRISTOPHER D EUSTICE,                               :
                                                      :
         Plaintiff,                                   :   NO. 3:18-CV-01008-SDD-RLB
                                                      :
 VERSUS                                               :   CHIEF JUDGE SHELLY D. DICK
                                                      :
                                                      :   MAGISTRATE JUDGE
 STATE OF LOUISIANA THROUGH THE                       :
 BOARD OF SUPERVISORS OF LOUISIANA                    :   RICHARD L. BOURGEOIS, JR.
 STATE UNIVERSITY AND AGRICULTURAL                    :
 AND MECHANICAL COLLEGE; MEGAN C.                     :
 MARTTER; AND RYAN BARSA,                             :
                                                      :
         Defendants.                                  :

                              LSU’S OPPOSITION TO
             PLAINTIFF’S OPPOSED MOTION SUGGESTING MOOTNESS AND
             ALTERNATIVE MOTION FOR EXTENSION OF TIME TO RESPOND
                      TO DEFENDANTS’ MOTIONS TO DISMISS

         Earlier this same date, the Plaintiff, through an attorney who has not yet been enrolled in

the case, filed a Motion Suggesting Mootness And Alternative Motion For Extension Of Time To

Respond To Defendants’ Motions To Dismiss.

         For the following reasons, LSU opposes the Plaintiff’s motion.

                                           ARGUMENT

         LSU refused to consent to the Plaintiff’s request for extension and opposes the current

motion primarily for two (2) reasons.

A.       The Plaintiff’s motion for an extension of time to oppose LSU’s motion is untimely

         First, the Plaintiff is requesting an extension of time to oppose LSU’s motion to dismiss

after the deadline for filing an opposition brief has already passed. LSU filed its motion to dismiss

on March 15, 2019. R. Doc. 16. Under Local Rule 7(f), “each respondent opposing a motion shall

file a response … within twenty-one [21] days after service of the motion.” Thus, the deadline for

Mr. Eustice to file his opposition to LSU’s motion was April 5, 2019. The Plaintiff never filed an

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opposition brief; instead, he filed an Amended Complaint which, as LSU noted in its Motion For

Leave To File Supplemental Memorandum, r. doc. 21, and in its Supplemental Memorandum, r.

doc. 24, did nothing to change the legal analysis or correct the deficiencies noted in LSU’s motion

to dismiss. The only truly new material in the Amended Complaint was his attempt to plead the

continuing violation doctrine, which is inapplicable as a matter of law, and the Roger Goodell

claim, which is utterly implausible as set forth in LSU’s Supplemental Memorandum. Now, on

April 24, 2019, nineteen (19) days after the Plaintiff’s deadline for filing an opposition brief has

already passed, he seeks a retroactive extension of time to oppose LSU’s motion. The Plaintiff’s
                                                          1
motion for extension is untimely and should be denied.

         Furthermore, it should not matter that the Plaintiff has only recently obtained legal counsel.

This lawsuit has been pending now for almost six (6) months, during which time Mr. Eustice has

capably handled himself. Prior to retaining counsel, Mr. Eustice demonstrated that he is perfectly

capable of reading and following the rules and, when necessary, requesting an extension of time.

On December 12, 2018, he filed a motion for an extension of time to serve process on the

Defendants. R. Doc. 7. He has filed numerous motions, r. docs. 3, 4, 7, 8, 17, he has mailed out

waivers of service of process and filed the executed waivers in the suit record, r. doc. 13, 14, he

hired a process server to attempt service on out-of-state co-defendant Megan Martter, he

participated in a lengthy Rule 26(f) status report, and he provided his own lengthy “inserts” to the

Status Report, r. doc. 22. He has even bragged in his Complaint and Amended Complaint about


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 In his motion, the Plaintiff argues that the Amended Complaint is controlling. But that is not the
same thing as saying LSU’s motion to dismiss is moot. Indeed, LSU specifically set forth the
procedural posture of the case in both its Motion For Leave and in footnote 1 of its Supplemental
Memorandum, and LSU specifically noted that the Court might prefer instead to dismiss LSU’s
original motion without prejudice to LSU’s ability to file a new motion. Instead, the Court chose
to grant LSU’s motion for leave to file its supplemental memorandum, r. doc. 23, clearly
demonstrating that the Court did not believe LSU’s motion to dismiss was moot.

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his prowess as a plaintiff: “I have been incredibly successful as a plaintiff in a number of lawsuits.”

Ex. C to Complaint and Amended Complaint. “I’m known for being litigious.” Id.

         Mr. Eustice is also familiar with federal court, Rule 12(b) motions, opposition briefs, and

requests for extensions of filing deadlines. After he was suspended from Texas A&M (“TAMU”)

for two (2) years for plagiarism, he filed suit against the university in federal court in the Southern

District of Texas. In response, TAMU filed a motion to dismiss under Rule 12(b). Mr. Eustice

then filed a request for an extension of time to oppose the motion (which request, like the present

case, was filed after the opposition deadline had already lapsed), which request the district court

granted. Mr. Eustice then filed his opposition brief. TAMU’s motion to dismiss was granted and

his lawsuit was dismissed in its entirety. Eustice v. Texas A&M University, 2016 WL 8710444

(S.D. Texas 9/30/16).

         Mr. Eustice has multiple additional cases that are apparently pending in federal court at the

present time. Eustice v. Discover Financial Services, 19-01488 (S.D. Tex.); Eustice v. JPMorgan

Chase, 19-01489 (S.D. Tex). Although not entirely clear, it appears another federal court lawsuit

was just recently dismissed. Eustice v. Newfield Exploration Co., 18-03669 (S.D. Tex.). Again,

while it is not entirely clear, it appears Mr. Eustice is representing himself in those cases as well.

         For all of these reasons, the Plaintiff’s request for an extension of time to oppose LSU’s

motion should be denied.

B.       The Plaintiff should not be allowed to file yet another amended complaint

         In his motion, the Plaintiff also suggests he might file a Second Amended Complaint. LSU

strongly opposes any such attempt by the Plaintiff. His original Complaint, filed on November 8,

2018, is thirty-one (31) pages long (not counting the numerous exhibits he attached thereto),

contains one hundred sixty-seven (167) paragraphs, and asserts numerous claims under federal and

state law. R. Doc. 1. His Amended Complaint, which he filed as a matter of right under Rule

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15(a)(1), is forty-two (42) pages long (not counting the even more numerous exhibits he attached

thereto), contains two hundred fourteen (214) paragraphs, and asserts all of the original claims plus

new ones. R. Doc. 20.

         The Plaintiff cannot file a Second Amended Complaint without leave of Court, and LSU

respectfully urges the Court to deny such leave. The scope of this lawsuit already encompasses

practically the entirety of Mr. Eustice’s time at LSU, and it is hard to imagine any additional legal

claims that have not already been asserted. There is nothing to be gained by granting him yet

another bite at the apple with a Second Amended Complaint.

         For all of these reasons, the Plaintiff’s motion should be denied.



                                                    Respectfully submitted,

                                                    TAYLOR, PORTER, BROOKS & PHILLIPS L.L.P.



                                                    By: s/John P. Murrill
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                                                       ATTORNEYS FOR THE BOARD OF
                                                       SUPERVISORS OF LOUISIANA STATE
                                                       UNIVERSITY AND AGRICULTURAL
                                                       AND MECHANICAL COLLEGE




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                                           CERTIFICATE

         I hereby certify that a copy of the foregoing was filed electronically with the Clerk of Court

using the CM/ECF system. I also certify that I have electronically mailed copies of this filing to

the following non-CM/ECF participants:

             Mr. Christopher D Eustice               Mr. Ryan Barsa
             Plaintiff Pro Se                        Pro Se Defendant
             655 West Forest Drive                   20 Conifer Drive
             Houston, Texas 77079                    Mendham, New Jersey 07945

         Baton Rouge, Louisiana, this 24th day of April, 2019.



                                                s/John P. Murrill
                                                John P. Murrill




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